A0442



                                   United States District Court
                                           SOUTHERN DISTRICT OF CALIFORNIA


               UNITED STATES OF AMERICA
                                                                                   WARRANT FOR ARREST
                                  V.

                          Raymond Liddy                                        Case Number:              19-cr-1685-CAB-1



                                                                               NOT FOR PUBLIC VIEW
   To:       The United States Marshal
             and any Authorized United States Officer

           YOU ARE HEREBY COMMANDED to arrest                                                  Raymond Liddy
                                                                                                      Name

   and bring him or her forthwith to the nearest magistrate to answer a(n)

   D     Indictment   D   lnfonnation    D   Complaint   D   Order ofCou11    D    Violation Notice       [gl ProbatiClll3Violation Petition
                                                                                                                      r--.>
                                                                                                                      c.J
                                                                                                          D   Pretrial lfu>latio~
                                                                                                                      ►
                                                                                                                      -<
    charging him or her with (brief description of offense):
                                                                                                                        I
                                                                                                                      I..D

                                                                                                                       -;:,
                                                                                                                       :::i;

                                                                                                                       w       ...
                                                                                                                               ....
                                                                                                                       w       ........
                                                                                                                       a~      C)




                                                                          •
    In violation of Title          See Above              United States Code, Section(s)
                                                                                                  - - - -- - - - - - - -
    John Morrill                                                    Clerk of the Court
    Name of Issuing Of1ker                                          Title of Issuing Officer


    sf D. Martinez                                                 5/9/2023 San Diego, CA
    Signature of DPputy                                            Date and Location

    Bail fixed at $                     No Bai l                   by           The Honorable Cathy Ann Bencivenga
                                                                                               Name of Judicial Officer


                                                                RETURN
    This warrant was received and executed with the arrest of the above-named defendant at

        DA TE RECEIVED             NAME AND TITLE OF AR RESTING OFFICER                  SIGNATURE OF ARRESTING OFFICER

        DATE OF ARREST
              Case 3:23-mj-01083-DCP Document 1 Filed 05/11/23 Page 1 of 11 PageID #: 1                                                   --
                                                                           .•·




                                                             ;•'.




                                                                    ,r,,




                               •




                                      ,;•




Case 3:23-mj-01083-DCP Document 1 Filed 05/11/23 Page 2 of 11 PageID #: 2
    • Case 3:19-cr-01685-CAB Document 165 (Court only)               Filed 05/09/23 PagelD.1661 Page
                                           1 of 9
  PROB 12C                                                                                                         May 9. 2023
_ (06/17)                                                                                                     pacts id: 3845353


                                     UNITED ST A TES DISTRICT COURT
                                                FOR THE
                                   SOUTHERN DISTRICT OF CALIFORNIA

                      Petition for Warrant or Summons for Offender Under Supervision



  Name of Offender: Raymond Joseph Liddy (English)                               Dkt. No.: l 9CR01685-001 -CAB

  Reg. No.: 63272-298

  Name of Sentencing Judicial Officer: The Honorable Cathy Ann Bencivengo, U.S . District Judge

  Original Offense: 18 U.S.C. § 2252(a)( 4)(B), Possession of Images of M inor Engaged in Sexually Explicit
  Conduct, a Class C felony.

  Date of Sentence: September 2, 2020

  Sentence: Five (5) years' probation. (Special Conditions: Re.fer to Judgment and Commitment Order.)

  Modification: On July 23 , 202 1, conditions were modified to include that the offender abstain from alcohol use,
  complete drug and alcohol treatment, and participate in alcohol monitoring for a period of 180 days. On June 8,
  2022, conditions were modified to include that the offender comply with all state diversion requirements.

  Type of Supervision: Probation                      Date Supervision Commenced: September 2, 2020

  Asst. U.S. Atty.: Amanda Griffith                   Defense Counsel:       Knut S. Johnson
                                                                             (Retained)
                                                                             (6 19) 232-7080

  Prior Violation History: Yes. See prior Court correspondence.

                                          PETITIONING THE COURT
  TO ISSUE A NO-BAIL BENCH WARRANT



                                                                                                  ,.......,
                                                                                                  =
                                                                                                  ~
                                                                                                  c.....J
                                                                                                                  .J

                                                                                                   -:,:,-     ..
                                                                                                  >
                                                                                                  -<
                                                                                                    I
                                                                                                  I.D

                                                                                                  -0          ~ -~
                                                                                                  =
                                                                                                  w
                                                                                                              I
                                                                                                              c , r.J
                                                                                                                   '
                                                                                                                        I

                                                                                                                  _·)

                                                                                                  w           ·,
                                                                                                  O'I         CJ




             Case 3:23-mj-01083-DCP Document 1 Filed 05/11/23 Page 3 of 11 PageID #: 3
   . Case 3:19-cr-01685-CAB Document 165 (Court only)                Filed 05/09/23 PagelD.1662 Page
                                          2 of 9
 PROBl2(C)
, Name of Offender: Raymond Joseph Liddy                                                                May 9, 2023
  Docket No.: 19CR01685-001-CAB                                                                              Page2

 The probation officer believes that the offender has violated the following condition(s) of supervision:

  CONDITION(S)                                      ALLEGATION(S) OF NONCOMPLIANCE

  (Mandatory Condition)
  Not commit another federal, state, or local           1. On or about April 25, 2023, Mr. Liddy threatened to
  crime.                                                   kill Kelli Singleton, a federal law enforcement officer,
                                                           in violation of 18 U.S.C. § 115(a)(l)(B).

                                                        2. On or about April 25, 2023, Mr. Liddy threatened to
                                                           injure Kelli Singleton, in violation of 18 U.S.C. §
                                                           875(c).

                                                        3. On or about April 25, 2023, Mr. Liddy committed the
                                                           act with intent to kill, injure, harass, intimidate or
                                                           place under surveillance in order to kill, injure, harass,
                                                           or intimidate Kelli Singleton, in violation of 18 U .S.C.
                                                           § 2261 (a)(l ).

                                                        4. On or about April 25, 2023, Mr. Liddy threatened to
                                                           commit a crime which would result in death or great
                                                           bodily injury to Kelli Singleton, in violation of
                                                           California Penal Code§ 422.

 Grounds for Revocation: As to Allegation 1, on or about April 25, 2023, at approximately 6:25 p.m., Mr. Liddy
 was telephoned by Senior U.S. Probation Officer (SrUSPO) Kelli Singleton. The purpose of the telephone contact
 was for SrUSPO Singleton to introduce herself to Mr. Liddy as his recently assigned probation officer. SrUSPO
 Singleton telephoned Mr. Liddy from her office telephone number, which belonged to one of Mr. Liddy's
 previously assigned probation officers, USPO Jordan Elbert.

 Upon contacting Mr. Liddy on his home telephone number, he asked SrUSPO Singleton several questions which
 he noted were to determine ifhe was talking to an actual probation officer. SrUSPO Singleton provided him with
 the information he requested. Although SrUSPO Singleton provided Mr. Liddy with the information he requested,
 he became increasingly hostile and aggressive by raising his voice, yelling loudly, and shouting obscenities and
 threats. At one point, Mr. Liddy gave the phone to his wife, Courtney Liddy, who stated the officer was not an
 actual officer and began calling SrUSPO Singleton obscene names and threatening to find and kill her.
 Immediately, SrUSPO Singleton asked Mr. Liddy be put back on the phone.

 When he was back on the telephone, Mr. Liddy continued using obscene language while speaking with SrUSPO
 Singleton calling her a "bitch, motherfucker," and stated she was probably a "nigger bitch." Mr. Liddy advised
 SrUSPO Singleton if any officer showed up at his home, they better have a badge and know how to use a gun.
 At that point, SrUSPO Singleton terminated the telephone call.

 Mr. Liddy continued to telephone SrUSPO Singleton several times from two different telephone numbers, as did
 Courtney Liddy, making additional threats to the probation officer's life stating, "we know where you are and
 will find you and kill you." Both Mr. Liddy and his wife, Courtney Liddy, continued calling SrUSPO Singleton
 obscene names to include "bitch" and "motherfucker," as well as telling the probation officer to "go fuck yourself'
 and "we know where you are nigger and we will find and kill you." They repeatedly threatened to kill SrUSPO
 Singleton. Mr. Liddy indicated he was going to contact Coronado Police Department.
          Case 3:23-mj-01083-DCP Document 1 Filed 05/11/23 Page 4 of 11 PageID #: 4
   . Case 3:19-cr-01685-CAB Document 165 (Court only)                Filed 05/09/23 PagelD.1663 Page
                                          3 of 9
 PROBl2(C)
, Name of Offender: Raymond Joseph Liddy                                                               May 9, 2023
  Docket No.: 19CR01685-00I-CAB                                                                             Page 3

                                  VIOLATION SENTENCING SUMMARY


 SUPERVISION ADJUSTMENT

 In July 2021, Mr. Liddy violated his conditions of probation, and the court was notified of his arrest for driving
 under the influence of alcohol (DUI), Case No. S319725, Superior Court of California, County of San Diego. At
 the time of the offense, Mr. Liddy's blood alcohol content was determined to be 0.245 (+/- 0.013) percent. While
 pending the violation for the DUI, Mr. Liddy's conditions of probation were modified to include abstain from
 alcohol use, complete drug and alcohol treatment, and participate in alcohol monitoring for a period of 180 days.
 Mr. Liddy continued to violate his conditions of probation by consuming alcohol on multiple occasions, failing
 to comply with the alcohol monitoring program, and obstructing the alcohol monitoring device. The court was
 subsequently notified of his ongoing violation conduct. On June 8, 2022, the Petition for Warrant or Summons
 was dismissed by the Court without prejudice. On the same date, a modification to Mr. Liddy's conditions were
 made to include he comply with all state diversion requirements for the DUI charges. On May 1, 2023, Mr. Liddy
 was granted his motion for Restorative Relief in Case No. S319725, Superior Court of California, County of San
 Diego. As a result, criminal charges for the DUI were dismissed.

 While on probation, Mr. Liddy participated in sex-offender specific treatment with Connie Martin. According to
 Ms. Martin, his overall therapy progress score was average. The report submitted by Ms. Martin indicates Mr.
 Liddy never took full responsibility for the underlying charges he pied guilty to. Ms. Martin further a~serted
 research shows individuals who deny all or part of their offense but complete the treatment requirements can still
 have a decrease in future offending. On February 17, 2023, based on Mr. Liddy's treatment progress, he
 completed sex offender-specific treatment. On May 7, 2023, Ms. Martin contacted the probation office via email
 pertaining to Mr. Liddy's treatment completion certificate and expressed concerns regarding Mr. Liddy.
 Specifically, Mr. Liddy had been sending Ms. Martin numerous texts, emails, and phone messages which she
 identified as seemingly strange.

 Mr. Liddy has reportedly participated in mental health and substance abuse treatment through the Department of
 Veteran's Affairs (VA). Mental health treatment was not ordered by the Court and therefore documentation has
 not been received verifying such. On July 23, 2021, Mr. Liddy's conditions of probation were modified to include
 that he complete drug and alcohol treatment. On August 12, 2022, he completed a dual diagnosis recovery
 program through the VA. Furthermore, Mr. Liddy attended alcohol treatment through the VA and successfully
 completed the program on February 1, 2023

 Of concern is Mr. Liddy's recent conduct while on supervised release as it relates to the above alleged violations.
 On April 25, 2023, Mr. Liddy made several threats to injure SrUSPO Singleton to include threats to her life,
 repeatedly threatening to kill her. He continued to contact SrUSPO Singleton on her desk phone number, which
 belonged to his prior probation officer, USPO Jordan Elbert. The continued phone calls to SrUSPO Singleton
 were harassing and included obscene names.

 On the same date, Mr. Liddy attempted to contact SrUSPO Walloch at approximately 6:40 p.m. Mr. Liddy left a
 voice mail message reporting someone with the caller identification as U.S. Courts was trying to call him. Mr.
 Liddy said he would be calling the telephone number back. At 6:4 7 p.m., Mr. Liddy again contacted SrUSPO
 Walloch and left a voicemail message indicating he received a few calls from U.S. Courts.

 At approximately 6:51 p.m., SrUSPO Singleton spoke with Coronado Police Department (CPD) dispatch advising
 she was attempting to contact Mr. Liddy for probation supervision purposes. At approximately 9:30 p.m.,

             Case 3:23-mj-01083-DCP Document 1 Filed 05/11/23 Page 5 of 11 PageID #: 5
   . Case 3:19-cr-01685-CAB Document 165 (Court only)               Filed 05/09/23 PagelD.1664 Page
                                          4 of 9
 PROBl2(C)
. Name of Offender: Raymond Joseph Liddy                                                             May 9, 2023
  Docket No.: 19CR01685-00I-CAB                                                                           Page4

 SrUSPO Singleton spoke with an officer from CPD. The CPD officer advised he would contact Mr. Liddy and
 inform him it was confirmed SrUSPO Singleton is a U.S. Probation officer.

 At approximately 7:04 p.m., defense attorney Knut Johnson telephoned SrUSPO Singleton and verified the
 probation officers name and information. Mr. Johnson advised Mr. Liddy has PTSD and other mental health
 issues. SrUSPO Singleton advised Mr. Johnson that Mr. Liddy made threats to her and was extremely hostile and
 aggressive. Mr. Johnson apologized on Mr. Liddy's behalf and said Mr. Liddy has been receiving calls from
 "scammers" which has made him anxious. Mr. Johnson acknowledged he understood ifthere were ramifications
 for Mr. Liddy's actions. SrUSPO Singleton informed Mr. Johnson there was no excuse to justify Mr. Liddy
 threatening to kill and verbally assaulting and officer. SrUSPO Singleton further informed Mr. Johnson if Mr.
 Liddy believed it was a scam, he could have blocked the telephone number. Instead, Mr. Liddy continued to call
 making threats and harassing SrUSPO Singleton.

 At approximately 7:26 p.m., Mr. Liddy left a message on the telephone belonging to the undersigned. The call
 was from Mr. Liddy's home telephone number; although, he did not identify himself. On the voicemail message,
 Mr. Liddy stated "I understand you are a probation officer ... "

 On April 26, 2023, Mr. Liddy again left a voicemail message for SrUSPO Walloch. On the message, Mr. Liddy
 indicated a young woman called his number claiming to be his new probation officer. He also indicated on the
 message he contacted CPD.

 On April 27, 2023, Mr. Liddy contacted Supervisory U.S. Probation Officer (SUSPO) Tisha Garcia and left a
 message on her voicemail to confirm his assigned probation officer. On the same date, the undersigned
 telephoned Mr. Liddy and advised he will be supervised by SrUSPO Walloch. The undersigned directed Mr.
 Liddy to have no contact with SrUSPO Kelli Singleton for any reason. Mr. Liddy began raising his voice stating
 if SrUSPO Singleton tries to call him again, he will call the police. The undersigned terminated the phone call.

 On May 2, 2023, in reviewing her personal social media sites, SrUSPO Singleton discovered she was being
 followed by Courtney Liddy. Specifically, on Linkedln, Courtney Liddy from Coronado, California had been
 following her since April 2023. On Facebook, SrUSPO Singleton was being followed by Courtney Liddy md on
 Instagram, she was being followed by CMLiddy 123. SrUSPO Singleton blocked Courtney Liddy from the social
 media sites.

 OFFENDER PERSONAL HISTORY/CHARACTERISTICS

 Mr. Liddy is 59 years old and currently residing in Coronado, California with his wife. Mr. Liddy is unemployed
 but is retired from the United States Marine Corps. He is deemed to be 50% disabled by the Department of
 Veteran's Affairs (VA), due to burns sustained during his military service. Mr. Liddy receives benefits from the
 USMC and is also financially supported by his wife.

 Mr. Liddy has attained a criminal history category I. His criminal history includes the underlying offense and an
 arrest while on probation for Driving Under the Influence (DUI) of alcohol. Mr. Liddy participated in a diversion
 program through the Superior Court of California, County of San Diego. Mr. Liddy provided a copy of the Order
 Granting Restorative Relief, Pursuant to Penal Code Section 1001.80, confirming the DUI charges were dismissed
 on May 1, 2023.

 Mr. Liddy has a substance abuse history which includes alcohol abuse. While on probation, on August 12, 2022,
 Mr. Liddy completed a dual diagnosis recovery program through the VA. He also attended alcohol treatment
 through the VA and successfully completed their program on February 1, 2023. Mr. Liddy has reported a history
          Case 3:23-mj-01083-DCP Document 1 Filed 05/11/23 Page 6 of 11 PageID #: 6
   . Case 3:19-cr-01685-CAB Document 165 (Court only)                   Filed 05/09/23 PagelD.1665 Page
                                          5 of 9
 PROB12(C)
, Name of Offender: Raymond Joseph Liddy                                                                  May 9, 2023
  Docket No.: 19CR01685-001-CAB                                                                                Page 5

 of anxiety and Post Traumatic Stress Disorder (PTSD). He has reported receiving mental health treatment through
 the VA and also attended sex offender-specific treatment with Connie Martin. On February 17, 2023, he
 completed sex offender-specific treatment.

 SENTENCING OPTIONS

 CUSTODY

 Statutory Provisions: Upon the finding of a violation the court may continue probation, extend the term of
 probation, modify the conditions of supervision, or revoke probation and resentence under Subchapter A.
 18 U.S.C. § 3565 (a) (1) and (2).

 If probation is revoked, the maximum term of imprisonment is 20 years. 18 U.S.C. § 2252(a)(4)(B).
 USSG Provisions: The allegations (Threats to kill Kelli Singleton, threats to injure Kelli Singleton, intent to kill,
 injure, harass, intimidate or place under surveillance in order to kill, injure, harass, or intimidate Kelli Singleton,
 and threatened to commit a crime which would result in death or great bodily injury to Kelli Singleton) constitutes
 Grade A violations. USSG §7B1.l(a)( 1), p.s.

 Upon a finding of a Grade A violation the court shall revoke probation. USSG §7B l .3(a)(l ), p.s.

 A Grade A violation with a Criminal History Category I (determined at the time of sentencing) establishes an
 imprisonment range of 12 to 18 months. USSG § 7B 1.4, p.s.

 IMPOSITION OF SUPERVISED RELEASE

 Statutory Provisions: If the court imposes a sentence of imprisonment, it may include a term of supervised
 release as part of the sentence. 18 U.S.C. § 3583(a) and (b).

 A term of not more than five years' supervised release is authorized. 18 U.S.C. §3583(k).

 USSG Provisions: The statute requires a term of supervised release of not less than five years, therefore the
 guideline requirement for a term of supervised release is five years to life. USSG § 5D 1.2(b)(2).

 JUSTIFICATION FOR BENCH WARRANT

 Mr. Liddy's recent behavior has been threatening, harassing, hostile, and erratic. The threats made to SrUSPO
 Singleton and "any officer" presents Mr. Liddy as a danger to the community. Therefore, it is respectfully
 recommended a bench warrant be issued so he may be brought before the Court.

 RECOMMENDATION/JUSTIFICATION

 Mr. Liddy's recent behavior is of grave concern. Throughout his term of probation, he has refused to take
 responsibility for the underlying offense. Given his recent conduct, Mr. Liddy exhibits a lack of regard and
 presents a cavalier attitude towards the order imposed by the Court. At this juncture his noncompliance has
 escalated to include threats to "find and kill" the probation officer. He has been hostile toward and made threats
 to the probation officer's life. These threats are taken very seriously. There have been noted efforts to find
 SrUSPO Singleton through social media, leaving into question to what extent will these threats be executed or
 acted on.


             Case 3:23-mj-01083-DCP Document 1 Filed 05/11/23 Page 7 of 11 PageID #: 7
  .       Case 3:19-cr-01685-CAB Document 165 (Court only)                 Filed 05/09/23 PagelD.1666 Page
                                               6 of 9
 PROBl2(C)
, Name of Offender: Raymond Joseph Liddy                                                                    May 9, 2023
  Docket No.: 19CR01685-001-CAB                                                                                  Page6

 Given the breach of the Courts trust and should the allegations outlined in the petition be sustained, it is
 respectfully recommended the Court revoke Mr. Liddy's supervised release and sentence him to 18 months
 custody, the high end of the guideline range, followed by five (5) years supervised release. The additional
 supervised release will provide further community protection. It is also recommended all previously imposed
 terms and conditions be imposed to include abstain from the use of alcohol and participate in drug and alcohol
 treatment. Additionally, it is recommended the Court update the wording for the previously imposed conditions
 as follows:

      •      Submit your person, property, residence, abode, vehicle, papers, computer, social media accounts, any
             other electronic communications or data storage devices or media, and effects to search at any timr;~, with
             or without a warrant, by any law enforcement or probation officer with reasonable suspicion concerning
             a violation of a condition of probation/supervised release or unlawful conduct, and otherwise in the lawful
             discharge of the officer's duties. 18 U.S.C. § 3563 (b)(23); 3583 (d)(3). Failure to submit to a search may
             be grounds for revocation; you must warn any other residents that the premises may be subject to searches
             pursuant to this condition.

      •      Consent to third party disclosure to any employer, potential employer, concerning any restrictions that are
             imposed by the court.

      •      Not use or possess any computer, computer-related devices (pursuant to 18 U.S.C. § 1030(e)(l)), which
             are capable of accessing, storing, or transmitting visual depictions of "sexually explicit conduct" involving
             children as defined by 18 USC § 2256(2) and/or "actual sexually explicit conduct" involving adults as
             defined by 18 USC§ 2257(h)(l), without prior approval by the court or probation officer, all of which are
             subject to search and seizure. Such devices include, but are not limited to smart phones, smart watches,
             video game consoles, digital tablets, I-pods, and not excluding anything else that has the capability of
             doing so in the future and can communicate data via modem, dedicated connections or cellular networks,
             and their peripheral equipment. The offender must consent to installation of monitoring software and/or
             hardware on any computer or computer-related devices owned or controlled by the offender that will
             enable the probation officer to monitor all computer use and cellular data. The offender must pay for the
             cost of installation of the computer software.

      •      Not associate with, or have any contact with, any known sex offenders unless in an approved treatment
             and/or counseling setting.

      •      Not have any contact, direct or indirect, either telephonically, visually, verbally or through written
             material, or through any third-party communication, with the victim or victim's family, without prior
             approval of the probation officer.

      •      Not accept or commence employment or volunteer activity without prior approval of the probation officer,
             and employment should be subject to continuous review and assessment by the probation officer.

      •      Not possess or view any materials such as videos, magazines, photographs, computer images or other
             matter that depicts "sexually explicit conduct" involving children as defined by 18 USC § 2256(2) and/or
             "actual sexually explicit conduct" involving adults as defined by 18 USC § 2257(h)(l ), and not patronize
             any place where such materials or entertainment are the primary material or entertainment available.

      •      Complete a sex offender evaluation, which may include periodic psychological, physiological testing, and
             completion of a visual reaction time (VRT) assessment, at the direction of the court or probation officer.
             If deemed necessary by the treatment provider, the offender shall participate and successfully complete
             an approved state-certified sex offender treatment program, including compliance with treatment
                Case 3:23-mj-01083-DCP Document 1 Filed 05/11/23 Page 8 of 11 PageID #: 8
  .        Case 3:19-cr-01685-CAB Document 165 (Court only)               Filed 05/09/23 PagelD.1667 Page
                                                7 of 9
 PROBl2(C)
, Name of Offender: Raymond Joseph Liddy                                                                   May 9, 2023
  Docket No.: 19CR01685-001-CAB                                                                                 Page 7

             requirements of the program. The Court authorizes the release of the presentence report, and available
             psychological evaluations to the treatment provider, as approved by the probation officer. The offender
             will allow reciprocal release of information between the probation officer and the treatment provider. The
             offender may also be required to contribute to the costs of services rendered in an amount to be determined
             by the probation officer, based on ability to pay. Polygraph examinations may be used following
             completion of the formal treatment program as directed by the probation officer in order to monitor
             adherence to the goals and objectives of treatment and as a part of the containment model.

       •     Reside in a residence approved in advance by the probation officer, and any changes in residence shall be
             pre-approved by the probation officer.


  I declare under penalty of perjury that the
  foregoing is true and correct.

  Executed on: _M
                ___
                  ay_9_,2_0....,2__3_ _ _ _ _ _ _ __

  Respectfully submitted:
  DANIEL J. KILGORE
  CHIEF PROBATION OFFICER



  Reviewed and approved:


  by
            Tra'cy D. Huxman
            Supervisory U.S. Probation Officer
            (619) 409-5125




              Case 3:23-mj-01083-DCP Document 1 Filed 05/11/23 Page 9 of 11 PageID #: 9
      .    Case 3:19-cr-01685-CAB Document 165 (Court only)                                      Filed 05/09/23 PagelD.1668 Page
                                                8 of 9
    PROB l 2CW                                                                                                                                      May 9. 2023



                                                  VIOLATION SENTENCING SUMMARY


1. Defendant: Liddy, Raymond Joseph

2. Docket No. (Year-Sequence-Defendant No.): __;,_;19__C;;. ; R. . :.__
                                                                     0 1.. .:. 6. .:. .:85:. . -. . :. 00_;_1:. . -. . :. C_;_A_B_ _ _ _ _ _ _ _ _ _ __


3. List Each Violation and Determine the Applicable Grade (See USSG § 7Bl.l):

                                                                                                                                           Grade
                Violation(s)
                Threats to kill Kelli Singleton                                                                                            A
                Threats to injure Kelli Singleton                                                                                          A
                Intent to kill, injure, harass, intimidate or place under surveillance in order to
                kill, injure, harass, or intimidate Kelli Singleton                                                                        A
                Threatened to commit a crime which would result in death or great bodily
                injury to Kelli Singleton                                                                                                  A




4. Most Serious Grade of Violation (See USSG § 7B1.l(b))                                                                                   [      A       ]
5. Criminal History Category (See USSG § 7B 1.4(a))                                                                                        [       I      ]
6. Range of Imprisonment (See USSG § 7Bl.4(a))                                                                               [ 12 to 18 months ]


7. Unsatisfied Conditions of Original Sentence: List any restitution, fine, community confinement, home
   detention, or intermittent confinement previously imposed in connection with the sentence for which revocation
   is ordered that remains unpaid or unserved at the time of revocation (See USSG § 7Bl.3(d)):

                         Restitution ($)                                       Community Confinement
                         Fine($)                                               Home Detention
                         Other                                                 Intermittent Confinement




               Case 3:23-mj-01083-DCP Document 1 Filed 05/11/23 Page 10 of 11 PageID #: 10
       Case 3:19-cr-01685-CAB Document 165 (Court only)    Filed 05/09/23 PagelD.1669 Page
  ..                                        9 of 9
 PROB12(C)
. Name of Offender: Raymond Joseph Liddy                                                May 9, 2023
  Docket No.: 19CR01685-001-CAB                                                              Page9

 THE COURT ORDERS:

 _x_ AGREE. A NO-BAIL BENCH WARRANT BE ISSUED BASED UPON A FINDING OF
     PROBABLE CAUSE TO BRING THE OFFENDER BEFORE THE COURT TO SHOW CAUSE
     WHY PROBATION SHOULD NOT BE REVOKED FOR THE ALLEGED VIOLATIONS. THE
     PETITION AND THE WARRANT WILL BE SEALED UNTIL THE OFFENDER HAS BEEN
     ARRESTED ON THE WARRANT AND THEN THE PETITION AND WARRANT MAY BE
     UNSEALED. NOTWITHSTANDING THE SEALING, A COPY OF THE PETITION AND
     WARRANT WILL BE GIVEN TO THE U.S. MARSHAL FOR USE BYLAW ENFORCEMENT.
 _ _ DISAGREE. THE ISSUANCE OF A SUMMONS ORDERING THE OFFENDER TO APPEAR
     BEFORE THE COURT ON ~=-=------------' AT _ _ _, TO SHOW CAUSE WHY
     PROBATION SHOULD NOT BE REVOKED.

 - - Other - - - - - - - - - - - - - - - - - - - - - - - - - - - -




                                                                             5/9/2023
 The Honorable Cathy Ann Bencivenga                                      Date
 U.S. District Judge
                                                                                lus




             Case 3:23-mj-01083-DCP Document 1 Filed 05/11/23 Page 11 of 11 PageID #: 11
